                     Case 1:21-cr-00123-PLF Document 72-3 Filed 09/22/22 Page 1 of 42
AO 106A (08/18) Application for a Warrant by Telephone or Other Reliable Electronic Means


                                      UNITED STATES DISTRICT COURT
                                                                         for the
                                                          DistrictDistrict
                                                     __________    of Columbia
                                                                           of __________

              In the Matter of the Search of                                 )
         (Briefly describe the property to be searched                       )
          or identify the person by name and address)                        )              Case No. 21-SW-8
                                                            ,                )
                     WASHINGTON, D.C.                                        )
                      UNDER RULE 41
                                                                             )

    APPLICATION FOR AWARRANT BY TELEPHONE OR OTHER RELIABLE ELECTRONIC MEANS
        I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
property to be searched and give its location):
 See Attachment A (incorporated by reference)

located in the                                    District of                 Columbia                  , there is now concealed (identify the
person or describe the property to be seized):
 See Attachment B (incorporated by reference)


          The basis for the search under Fed. R. Crim. P. 41(c) is (check one or more):
                  evidence of a crime;
                  contraband, fruits of crime, or other items illegally possessed;
                     property designed for use, intended for use, or used in committing a crime;
                     a person to be arrested or a person who is unlawfully restrained.
          The search is related to a violation of:
                   Code Section                                                         Offense Description
        18 USC§§ 1752(a)&(b)(l)(A); Knowingly Entering or Remaining in any Restricted Building or Grounds Without
        111; 231; 371; 930; 1512;   Lawful Authority; Assaulting a Fed. Agent, Civil Disorders, Conspiracy,
        40 USC§ 5104(e)(2)          Possession of Firearms & Dangerous Weapons in Fed. Facilities; Obstruction of
                                    Congress; Violent Entry and Disorderly Conduct on Capitol Grounds
          The application is based on these facts:
                See Affidavit
           0 Continued on the attached sheet.
           0 Delayed notice of        days (give exact ending date if more than 30 days:                                  ) is requested under
             18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.


                                                                                                       Applicant’s signature

                                                                                 Scott F. Brown, Detective, Metropolitan Police Department
                                                                                                       Printed name and title

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
                     Telephone                        (specify reliable electronic means).
                                                                                                                   Digitally signed by G. Michael Harvey
                                                                                                                   Date: 2021.01 .1810:35:43-05'00'
Date:            01/18/2021
                                                                                                          Judge’s signature

City and state: Washington, D.C.                                                            G. Michael Harvey, U.S. Magistrate Judge
                                                                                                       Printed name and title
                          Case 1:21-cr-00123-PLF Document 72-3 Filed 09/22/22 Page 2 of 42

AO 93C (08/18) Warrant by Telephone or Other Reliable Electronic Means                  ~   Original                0 Duplicate Original


                                           UNITED STATES DISTRICT COURT
                                                                            for the
                                                                    District of Columbia

                  In the Matter of the Search of                                )
              (Briefly describe the property to be searched                     )
               or identify the person by name and address)                      )     Case No. 21-SW-8
                                                              ,                 )
                        WASHINGTON, D.C.                                        )
                         UNDER RULE 41                                          )

                 WARRANT BY TELEPHONE OR OTHER RELIABLE ELECTRONIC MEANS
To:       Any authorized law enforcement officer
         An application by a federal law enforcement officer or an attorney for the government requests the search and seizure
of the following person or property located in the   _ _ _ _ _ _ _ _ District of                          Columbia
(identify the person or describe the property to be searched and give its location)
  See Attachment A (incorporated by reference)




        I find that the affidavit(s), or any recorded testimony, establish probable cause to search and seize the person or property
described above, and that such search will reveal (identify the person or describe the property to be seized)
  See Attachment B (incorporated by reference)




        YOU ARE COMMANDED to execute this warrant on or before                 February 1, 2021        (not to exceed 14 days)
      ~ in the daytime 6:00 a.m. to 10:00 p.m. 0 at any time in the day or night because good cause has been established.

        Unless delayed notice is authorized below, you must give a copy of the warrant and a receipt for the property taken to the
person from whom, or from whose premises, the property was taken, or leave the copy and receipt at the place where the
property was taken.
        The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an inventory
as required by law and promptly return this warrant and inventory to      G. Michael Harvey, U .S. Magistrate Judge
                                                                                                       (United States Magistrate Judge)

      0 Pursuant to 18 U.S.C. § 3103a(b), I find that immediate notification may have an adverse result listed in 18 U .S.C.
§ 2705 (except for delay of trial), and authorize the officer executing this warrant to delay notice to the person who, or whose
property, will be searched or seized (check the appropriate box)
     0 for _ _ days (not to exceed 30) O until, the facts justifying, the later specific date of

                                                                                                                          Digitally signed by G. Michael Harvey
                                                                                                                          Date: 2021.01 .1810:36:23-0S'00'
Date and time issued:          01/18/2021
                                                                                                               Judge’s signature

City and state: Washington , D.C.
                    ~~~-----------
                                                                                             G. Michael Harvey, U.S. Magistrate Judge
                                                                                                             Printed name and title
                          Case 1:21-cr-00123-PLF Document 72-3 Filed 09/22/22 Page 3 of 42
AO 93C (08/18) Warrant by Telephone or Other Reliable Electronic Means (Page 2)

                                                                             Return
Case No.:                                Date and time warrant executed:                 Copy of warrant and inventory left with:
               21- SW-8

Inventory made in the presence of :

Inventory of the property taken and name(s) of any person(s) seized:




                                                                         Certification


        I declare under penalty of perjury that this inventory is correct and was returned along with the original warrant to the
designated judge.



Date:
                                                                                                Executing officer’s signature


                                                                                                   Printed name and title
        Case 1:21-cr-00123-PLF Document 72-3 Filed 09/22/22 Page 4 of 42




                                      ATTACHMENT A

                                    Property to be searched

       The property to be searched is

WASHINGTON, D.C. (the “PREMISES”), further described as a two-story red brick row house.

The front door is white with a black metal storm door with the numerals   affixed to the white

front door.
        Case 1:21-cr-00123-PLF Document 72-3 Filed 09/22/22 Page 5 of 42




                                        ATTACHMENT B

                                        Property to be seized

       1.      The items to be seized are fruits, evidence, information, contraband, or

instrumentalities, in whatever form and however stored, relating to violations of 18 U.S.C.

§ 1752(a)(1)-(2) and (b)(1)(A) (Knowingly Entering or Remaining in any Restricted Building or

Grounds without Lawful Authority while Using or Carrying a Dangerous Weapon), 18 U.S.C. §

111 (Assaulting a Federal Agent), 18 U.S.C. § 231 (Civil Disorders), 18 U.S.C. § 371

(Conspiracy), 18 U.S.C. § 930 (Possession of Firearms and Dangerous Weapons in Federal

Facilities), 18 U.S.C. § 1512 (Obstruction of Congress), and 40 U.S.C. § 5104(e)(2)(D)

(Knowingly Engaging in Disorderly Conduct on Capitol Grounds), as described in the search

warrant affidavit, including, but not limited to:

            a. Black in color handheld Taser and/or any evidence of possession of such a Taser;

            b. Any paperwork, memorabilia, artwork, or other items taken from the U.S. Capitol

               grounds on January 6, 2021;

            c. Clothing matching that worn during the offenses as depicted/described in the

               affidavit;

            d. Any records and information relating to a conspiracy to illegally enter and/or

               occupy the U.S. Capitol Building on or about January 6, 2021;

            e. Information that constitutes evidence concerning the breach and unlawful entry of

               the United States Capitol, and any conspiracy or plan to do so, on January 6, 2021;

            f. Information that constitutes evidence concerning the riot and/or civil disorder at the

               United States Capitol on January 6, 2021;
Case 1:21-cr-00123-PLF Document 72-3 Filed 09/22/22 Page 6 of 42




  g. Information that constitutes evidence concerning the assaults of federal

     officers/agents (including MPD Officer Fanone) and efforts to impede such federal

     officers/agents in the performance of their duties at the United States Capitol on

     January 6, 2021;

  h. Information that constitutes evidence concerning the obstruction of proceedings by

     and before the U.S. Congress at the United States Capitol on January 6, 2021;

  i. Information that constitutes evidence concerning damage to property at the United

     States Capitol on January 6, 2021;

  j. Information that constitutes evidence of any conspiracy, planning, or preparation

     to commit those offenses;

  k. Information that constitutes evidence concerning efforts after the fact to conceal

     evidence of those offenses, or to flee prosecution for the same;

  l. Records and information that constitute evidence of use, control, ownership, or

     occupancy of the PREMISES and things therein;

  m. Records and information that constitute evidence of the state of mind of VITALI

     GOSSJANKOWSKI, e.g., intent, absence of mistake, or evidence indicating

     preparation or planning, or knowledge and experience, related to the criminal

     activity under investigation;

  n. Records and information that constitute evidence concerning persons who either (i)

     collaborated, conspired, or assisted (knowingly or unknowingly) the commission

     of the criminal activity under investigation; or (ii) communicated with VITALI
Case 1:21-cr-00123-PLF Document 72-3 Filed 09/22/22 Page 7 of 42




     GOSSJANKOWSKI about matters relating to the criminal activity under

     investigation, including records that help reveal their whereabouts; and

  o. Any digital device which is capable of containing and reasonably could contain

     fruits, evidence, information, contraband, or instrumentalities as described in the

     search warrant affidavit and above, hereinafter the “Device(s”). For such devices,

         i. evidence of who used, owned, or controlled the Device(s) at the time the

            things described in this warrant were created, edited, or deleted, such as

            logs, registry entries, configuration files, saved usernames and passwords,

            documents, browsing history, user profiles, email, email contacts, chat,

            instant messaging logs, photographs, and correspondence;

        ii. evidence of software, or the lack thereof, that would allow others to control

            the Device(s), such as viruses, Trojan horses, and other forms of malicious

            software, as well as evidence of the presence or absence of security software

            designed to detect malicious software;

        iii. evidence of the attachment to the Device(s) of other storage devices or

            similar containers for electronic evidence;

        iv. evidence of counter-forensic programs (and associated data) that are

            designed to eliminate data from the Device(s);

         v. evidence of the times the Device(s) was used;

        vi. passwords, encryption keys, and other access devices that may be necessary

            to access the Device(s);
        Case 1:21-cr-00123-PLF Document 72-3 Filed 09/22/22 Page 8 of 42




                 vii. documentation and manuals that may be necessary to access the Device(s)

                         or to conduct a forensic examination of the Device(s);

                 viii. records of or information about Internet Protocol addresses used by the

                         Device(s);

                     ix. records of or information about the Device(s)’s Internet activity, including

                         firewall logs, caches, browser history and cookies, “bookmarked” or

                         “favorite” web pages, search terms that the user entered into any Internet

                         search engine, and records of user-typed web addresses.



During the execution of the search of the PREMISES described in Attachment A, law enforcement

personnel are also specifically authorized to obtain from GOSSJANKOWSKI (but not any other

individuals present at the PREMISES at the time of execution of the warrant) the compelled

display of any physical biometric characteristics (such as fingerprint/thumbprint, facial

characteristics, or iris display) necessary to unlock any Device(s) requiring such biometric access

subject to seizure pursuant to this warrant for which law enforcement has reasonable suspicion that

the aforementioned person’s physical biometric characteristics will unlock the Device(s), to

include pressing fingers or thumbs against and/or putting a face before the sensor, or any other

security feature requiring biometric recognition of:

               (a)       any of the Device(s) found at the PREMISES,

               (b)       where the Device(s) are limited to those which are capable of containing

                         and reasonably could contain fruits, evidence, information, contraband, or
           Case 1:21-cr-00123-PLF Document 72-3 Filed 09/22/22 Page 9 of 42




                      instrumentalities of the offense(s) as described in the search warrant

                      affidavit and warrant attachments,

for the purpose of attempting to unlock the Device(s)’s security features in order to search the

contents as authorized by this warrant.

       While attempting to unlock the device by use of the compelled display of biometric

characteristics pursuant to this warrant, law enforcement is not authorized to demand that the

aforementioned person(s) state or otherwise provide the password or identify the specific biometric

characteristics (including the unique finger(s) or other physical features), that may be used to

unlock or access the Device(s). Nor does the warrant authorize law enforcement to use the fact

that the warrant allows law enforcement to obtain the display of any biometric characteristics to

compel the aforementioned person(s) to state or otherwise provide that information. However, the

voluntary disclosure of such information by the aforementioned person(s) is permitted. To avoid

confusion on that point, if agents in executing the warrant ask any of the aforementioned person(s)

for the password to any Device(s), or to identify which biometric characteristic (including the

unique finger(s) or other physical features) unlocks any Device(s), the agents will not state or

otherwise imply that the warrant requires the person to provide such information, and will make

clear that providing any such information is voluntary and that the person is free to refuse the

request.



       As used above, the terms “records” and “information” includes all forms of creation or

storage, including any form of computer or electronic storage (such as hard disks or other media

that can store data); any handmade form (such as writing); any mechanical form (such as printing
       Case 1:21-cr-00123-PLF Document 72-3 Filed 09/22/22 Page 10 of 42




or typing); and any photographic form (such as microfilm, microfiche, prints, slides, negatives,

videotapes, motion pictures, or photocopies).

       The term “digital devices” includes any electronic system or device capable of storing or

processing data in digital form, including central processing units; desktop computers, laptop

computers, notebooks, and tablet computers; personal digital assistants; wireless communication

devices, such as telephone paging devices, beepers, mobile telephones, and smart phones; digital

cameras; peripheral input/output devices, such as keyboards, printers, scanners, plotters, monitors,

and drives intended for removable media; related communications devices, such as modems,

routers, cables, and connections; storage media, such as hard disk drives, floppy disks, USB flash

drives, memory cards, optical disks, and magnetic tapes used to store digital data (excluding analog

tapes such as VHS); security devices; and any other type of electronic, magnetic, optical,

electrochemical, or other high speed data processing devices performing logical, arithmetic, or

storage functions.
       Case 1:21-cr-00123-PLF Document 72-3 Filed 09/22/22 Page 11 of 42




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 IN THE MATTER OF THE SEARCH OF:

                                                      Case No. 21-SW-8
 WASHINGTON, DC
 UNDER RULE 41


            AFFIDAVIT IN SUPPORT OF AN APPLICATION UNDER RULE 41
                    FOR A WARRANT TO SEARCH AND SEIZE

       I, Scott F. Brown, being first duly sworn, hereby depose and state as follows:

                      INTRODUCTION AND AGENT BACKGROUND

       1.       I make this affidavit in support of an application under Rule 41 of the Federal Rules

of Criminal Procedure for a warrant to search the premises known as                                 ,

            , Washington, D.C. 20002, hereinafter “PREMISES,” further described in Attachment

A, for the things described in Attachment B.

       2.       I am a Police Officer with the Metropolitan Police Department. I have been in this

position since 1991. My current rank is a Detective, grade two, assigned to the Narcotic and Special

Investigation Division (NSID). Since 2009, I have been detailed to an FBI-led Safe Streets Task

Force. Throughout my law enforcement career, I have attended classes, seminars, and special

training sessions. During my tenure as a police officer, I have been involved in hundreds of arrests

for narcotics, gun violations, and other violations of the law. Through my training, education and

experience, I have become familiar with the manner in which criminal activity is carried out, and

the efforts of persons involved in such activity to avoid detection by law enforcement. As a Task

Force Officer (TFO) with the FBI, I am authorized to investigate violations of laws of the United
        Case 1:21-cr-00123-PLF Document 72-3 Filed 09/22/22 Page 12 of 42




States, and as a law enforcement officer I am authorized to execute warrants issued under the

authority of the United States.

       3.      The facts in this affidavit come from my personal observations, my training and

experience, and information obtained from other agents, witnesses, and agencies. This affidavit is

intended to show merely that there is sufficient probable cause for the requested warrant. It does

not set forth all of my knowledge, or the knowledge of others, about this matter.

       4.      Based on my training and experience and the facts as set forth in this affidavit, I

respectfully submit that there is probable cause to believe that violations of 18 U.S.C. § 1752(a)(1)-

(2) and (b)(1)(A) (Knowingly Entering or Remaining in any Restricted Building or Grounds

without Lawful Authority while Using or Carrying a Dangerous Weapon), 18 U.S.C. § 111

(Assaulting a Federal Agent), 18 U.S.C. § 231 (Civil Disorders), 18 U.S.C. § 371 (Conspiracy),

18 U.S.C. § 930 (Possession of Firearms and Dangerous Weapons in Federal Facilities), 18 U.S.C.

§ 1512 (Obstruction of Congress), and 40 U.S.C. § 5104(e)(2)(D) (Knowingly Engaging in

Disorderly Conduct on Capitol Grounds) have been committed by VITALI GOSSJANKOWSKI.

There is also probable cause to search the PREMISES, further described in Attachment A, for the

things described in Attachment B.

                                       PROBABLE CAUSE

                  Background: Events at the U.S. Capitol on January 6, 2021


       5.      The U.S. Capitol, which is located at First Street, SE, in Washington, D.C., is

secured 24 hours a day by U.S. Capitol Police. Restrictions around the U.S. Capitol include




                                                  2
        Case 1:21-cr-00123-PLF Document 72-3 Filed 09/22/22 Page 13 of 42




permanent and temporary security barriers and posts manned by U.S. Capitol Police. Only

authorized people with appropriate identification are allowed access inside the U.S. Capitol.

       6.        On January 6, 2021, the exterior plaza of the U.S. Capitol was closed to members

of the public.

       7.        On January 6, 2021, a joint session of the United States Congress convened at the

United States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint

session, elected members of the United States House of Representatives and the United States

Senate were meeting in separate chambers of the United States Capitol to certify the vote count of

the Electoral College of the 2020 Presidential Election, which had taken place on November 3,

2020. The joint session began at approximately 1:00 p.m. Shortly thereafter, by approximately

1:30 p.m., the House and Senate adjourned to separate chambers to resolve a particular objection.

Vice President Mike Pence was present and presiding, first in the joint session, and then in the

Senate chamber.

       8.        As the proceedings continued in both the House and the Senate, and with Vice

President Mike Pence present and presiding over the Senate, a large crowd gathered outside the

U.S. Capitol. As noted above, temporary and permanent barricades were in place around the

exterior of the U.S. Capitol building, and U.S. Capitol Police were present and attempting to keep

the crowd away from the Capitol building and the proceedings underway inside.

       9.        At approximately 2:00 p.m., certain individuals in the crowd forced their way

through, up, and over the barricades, and officers of the U.S. Capitol Police, and the crowd

advanced to the exterior façade of the building. The crowd was not lawfully authorized to enter

or remain in the building and, prior to entering the building, no members of the crowd submitted
                                                  3
        Case 1:21-cr-00123-PLF Document 72-3 Filed 09/22/22 Page 14 of 42




to security screenings or weapons checks by U.S. Capitol Police Officers or other authorized

security officials.

        10.     At such time, the certification proceedings were still underway and the exterior

doors and windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S.

Capitol Police attempted to maintain order and keep the crowd from entering the Capitol; however,

shortly after 2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including by

breaking windows and by assaulting members of the U.S. Capitol Police, as others in the crowd

encouraged and assisted those acts.

        11.     Shortly thereafter, at approximately 2:20 p.m. members of the United States House

of Representatives and United States Senate, including the President of the Senate, Vice President

Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, all proceedings

of the United States Congress, including the joint session, were effectively suspended until shortly

after 8:00 p.m. the same day. In light of the dangerous circumstances caused by the unlawful entry

to the U.S. Capitol, including the danger posed by individuals who had entered the U.S. Capitol

without any security screening or weapons check, Congressional proceedings could not resume

until after every unauthorized occupant had left the U.S. Capitol, and the building had been

confirmed secured. The proceedings resumed at approximately 8:00 pm after the building had

been secured. Vice President Pence remained in the United States Capitol from the time he was

evacuated from the Senate Chamber until the session resumed.

        12.     During national news coverage of the aforementioned events, video footage which

appeared to be captured on mobile devices of persons present on the scene depicted evidence of


                                                 4
          Case 1:21-cr-00123-PLF Document 72-3 Filed 09/22/22 Page 15 of 42




violations of local and federal law, including scores of individuals inside the U.S. Capitol building

without authority to be there.

                                    Facts Specific to This Application

          13.     A publically available video that I have reviewed shows a large group of

individuals, including a white male who was wearing a blue-colored jacket and black sunglasses

(Person 1), trying to forcefully and violently gain access to the U.S. Capitol building on January

6, 2021. 1 The video shows Person 1: entering the covered area leading to an entrance to the U.S.

Capitol building; assisting with passing a clear ballistic shield away from the entrance to the U.S.

Capitol building; possessing a black-colored handheld Taser, which was handed to him by an

unknown man in a desert camouflage jacket and black hat with a white emblem on the front;

activating the Taser multiple times, as evidenced by light flashes emanating from the Taser’s tip;

and pushing himself through the crowd of violent individuals towards the police line that was

protecting the entrance to the U.S. Capitol building. Figures One through Four show still images

from the video.



1
    The video is available at https://www.youtube.com/watch?v=cJOgGsC0G9U.




                                                      5
Case 1:21-cr-00123-PLF Document 72-3 Filed 09/22/22 Page 16 of 42




                            Figure One




                           Figure Two




                           Figure Three


                                6
       Case 1:21-cr-00123-PLF Document 72-3 Filed 09/22/22 Page 17 of 42




                                          Figure Four

       14.    On or about January 10, 2021, the Federal Bureau of Investigation (FBI) created

Be On the Lookout (BOLO) posters seeking information regarding individuals that had committed

violent acts on or inside the grounds of the U.S. Capitol. Two of those BOLO posters appear below

as Figures Five and Six. In them, the Photographs labeled #81-AFO and #98-AFO depicted Person

1.




                                               7
       Case 1:21-cr-00123-PLF Document 72-3 Filed 09/22/22 Page 18 of 42




              ~ SEEI{ING
              cy INFORMATION
                ASSAULT ON FEDERAL OFFICERS AND
             VIOLENCE AT THE UNITED STATES CAPITOL
                                                     WASHlNGTON , D.C.
                                                       JANUARY 6, 2021




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                      Figure Five                                                                                                                               Figure Six

These BOLO’s were disseminated to various media outlets and posted on the FBI official website.

       15.            On January 14, 2021, the FBI received a call that members of the Metropolitan

Police Department (MPD) were with an individual who had contacted police and wanted to turn

himself in regarding a wanted poster that included a picture of him. Special Agent James Mulvihill

and I responded to the                                                                                                     , Northeast, Washington, D.C., and were met

by MPD Officers of the Fifth District and VITALI GOSSJANKOWSKI. GOSSJANKOWSKI was

not handcuffed or under arrest. With the assistance of MPD Officer Ulrich, from the Special

Liaison Branch, GOSSJANKOWSKI was interviewed. GOSSJANKOWSKI stated that someone

had called him to inform him that they had seen him on FBI wanted posters. GOSSJANKOWSKI

said he never went inside of the building and that he went to the U.S. Capitol out of curiosity.
                                               8
       Case 1:21-cr-00123-PLF Document 72-3 Filed 09/22/22 Page 19 of 42




GOSSJANKOWSKI admitted to possessing a Taser, but said he found it on the ground when he

was walking up towards the U.S. Capitol. GOSSJANKOWSKI stated that he left after he could

not gain entrance to the U.S. Capitol and that he discarded the Taser in a trashcan outside the U.S.

Capitol building. GOSSJANKOWSKI stated that he had gone to the U.S. Capitol with a friend of

his from Frederick, Maryland. GOSSJANKOWSKI agreed to be photographed on January 14,

2021. Figure Seven shows how he appeared when he was interviewed. Notably, he was wearing

what appeared to be the same blue jacket that Person 1 was wearing on January 6, 2021.




                                           Figure Seven

During the January 14, 2021 interview, GOSSJANKOWSKI provided law enforcement with his

Florida Identification Card, which confirmed that his name is VITALI GOSSJANKOWSKI.

GOSSJANKOWSKI stated that he resided at                                        , Washington, D.C.

GOSSJANKOWSKI also provided a cellular phone number of                                   . I have

communicated with GOSSJANKOWSKI via text message using that phone number.

GOSSJANKOWSKI also stated that he had a roommate.

       16.     On January 17, 2021, law enforcement interviewed GOSSJANKOWSKI for a

second time. He reiterated what he said during the first interview. I showed him a snapshot of

Officer Fanone being assaulted on January 6, 2021. Officer Fanone suffered a heart attack and was
                                               9
       Case 1:21-cr-00123-PLF Document 72-3 Filed 09/22/22 Page 20 of 42




hospitalized as a result. Officer Fanone reported that he was Tased multiple times in the back of

his neck when he was assaulted by rioters. GOSSJANKOWSKI recognized Fanone in the

snapshot and described him as the officer with tattoos on his neck. He said he did not use his Taser

on Officer Fanone, but if he touched him, he touched his helmet and it was merely to help him.

During the interview, GOSSJANKOWSKI admitted that he was the person in both BOLOS

(see Figures Five and Six). He also stated that he took pictures and video when he was on the

Capitol grounds, but that he either deleted them or they were lost when his phone died.

       17.     On January 17, 2021, law enforcement also interviewed GOSSJANKOWSKI’s

roommate. The roommate indicated that GOSSJANKOWSKI showed him a Taser after the riot

on the Capitol Grounds and told him it was a souvenir. This contradicted what

GOSSJANKOWSKI told law enforcement, namely, that he had thrown the Taser away in a

trashcan.

       18.     An open source search on January 15, 2021, indicated that GOSSJANKOWSKI

has a Twitter and Facebook account.

       19.     The property to be searched, as described in Attachment B, includes computers,

mobile phones, and/or tablets owned, used, or controlled by GOSSJANKOWSKI, including his

mobile phone associated with phone number                   , hereinafter the “Device(s).”

       20.     In my experience and training, I know that individuals who participate in events

such as the January 6, 2021, attack against the U.S. Capitol, communicate via social media sites,

emails, and text messages, and must use electronic devices to do so. I also know that individuals

who participated in the January 6, 2021, attack recorded activities using digital devices, including

mobile phones. GOSSJANKOWSKI acknowledged that he used his mobile phone to record
                                    10
       Case 1:21-cr-00123-PLF Document 72-3 Filed 09/22/22 Page 21 of 42




activities, but claimed the resulting files were deleted or lost. I also know that individuals who

engage in the criminal conduct for which there is probable cause to believe GOSSJANKOWSKI

engaged keep evidence of their criminal conduct, including souvenirs, at their residence.

Accordingly, I believe there is probable cause that fruits, evidence, information, contraband, or

instrumentalities of GOSSJANKOWSKI’s criminal conduct on January 6, 2021, will be located at

his residence.

                                        TECHNICAL TERMS

       21.       Based on my training and experience, and information acquired from other law

enforcement officials with technical expertise, I know the terms described below have the

following meanings or characteristics:

                 a.       “Digital device,” as used herein, includes the following three terms and their

respective definitions:

                          1)     A “computer” means an electronic, magnetic, optical, or other high

speed data processing device performing logical or storage functions, and includes any data storage

facility or communications facility directly related to or operating in conjunction with such device.

See 18 U.S.C. § 1030(e)(1). Computers are physical units of equipment that perform information

processing using a binary system to represent information. Computers include, but are not limited

to, desktop and laptop computers, smartphones, tablets, smartwatches, and binary data processing

units used in the operation of other products like automobiles.

                          2)     “Digital storage media,” as used herein, means any information

storage device in which information is preserved in binary form and includes electrical, optical,

and magnetic digital storage devices. Examples of digital storage media include, but are not
                                           11
        Case 1:21-cr-00123-PLF Document 72-3 Filed 09/22/22 Page 22 of 42




limited to, compact disks, digital versatile disks (“DVDs”), USB flash drives, flash memory cards,

and internal and external hard drives.

                       3)      “Computer hardware” means all equipment that can receive,

capture, collect, analyze, create, display, convert, store, conceal, or transmit electronic, magnetic,

or similar computer impulses or data. Computer hardware includes any data-processing devices

(including, but not limited to, central processing units, internal and peripheral storage devices such

as fixed disks, external hard drives, floppy disk drives and diskettes, and other memory storage

devices); peripheral input/output devices (including, but not limited to, keyboards, printers, video

display monitors, modems, routers, scanners, and related communications devices such as cables

and connections), as well as any devices, mechanisms, or parts that can be used to restrict access

to computer hardware (including, but not limited to, physical keys and locks).

               b.      “Wireless telephone” (or mobile telephone, or cellular telephone), a type of

digital device, is a handheld wireless device used for voice and data communication at least in part

through radio signals and also often through “wi-fi” networks. When communicating via radio

signals, these telephones send signals through networks of transmitters/receivers, enabling

communication with other wireless telephones, traditional “land line” telephones, computers, and

other digital devices. A wireless telephone usually contains a “call log,” which records the

telephone number, date, and time of calls made to and from the phone. In addition to enabling

voice communications, wireless telephones offer a broad range of applications and capabilities.

These include, variously: storing names and phone numbers in electronic “address books”;

sending, receiving, and storing text messages, e-mail, and other forms of messaging; taking,

sending, receiving, and storing still photographs and video; storing and playing back audio files;
                                                12
       Case 1:21-cr-00123-PLF Document 72-3 Filed 09/22/22 Page 23 of 42




storing dates, appointments, and other information on personal calendars; utilizing global

positioning system (“GPS”) locating and tracking technology, and accessing and downloading

information from the Internet.

               c.      A “tablet” is a mobile computer, typically larger than a wireless phone yet

smaller than a notebook, that is primarily operated by touch-screen. Like wireless phones, tablets

function as wireless communication devices and can be used to access the Internet or other wired

or wireless devices through cellular networks, “wi-fi” networks, or otherwise. Tablets typically

contain programs called applications (“apps”), which, like programs on both wireless phones, as

described above, and personal computers, perform many different functions and save data

associated with those functions.

               d.      A “GPS” navigation device, including certain wireless phones and tablets,

uses the Global Positioning System (generally abbreviated “GPS”) to display its current location,

and often retains records of its historical locations. Some GPS navigation devices can give a user

driving or walking directions to another location, and may contain records of the addresses or

locations involved in such historical navigation. The GPS consists of 24 NAVSTAR satellites

orbiting the Earth. Each satellite contains an extremely accurate clock. Each satellite repeatedly

transmits by radio a mathematical representation of the current time, combined with a special

sequence of numbers. These signals are sent by radio, using specifications that are publicly

available. A GPS antenna on Earth can receive those signals. When a GPS antenna receives

signals from at least four satellites, a computer connected to that antenna can mathematically

calculate the antenna’s latitude, longitude, and sometimes altitude with a high level of precision.


                                                13
        Case 1:21-cr-00123-PLF Document 72-3 Filed 09/22/22 Page 24 of 42




               e.      “Computer passwords and data security devices” means information or

items designed to restrict access to or hide computer software, documentation, or data. Data

security devices may consist of hardware, software, or other programming code. A password (a

string of alpha-numeric characters) usually operates as a digital key to “unlock” particular data

security devices. Data security hardware may include encryption devices, chips, and circuit

boards. Data security software of digital code may include programming code that creates “test”

keys or “hot” keys, which perform certain pre-set security functions when touched. Data security

software or code may also encrypt, compress, hide, or “booby-trap” protected data to make it

inaccessible or unusable, as well as reverse the progress to restore it.

               f.      “Computer software” means digital information which can be interpreted

by a computer and any of its related components to direct the way they work. Computer software

is stored in electronic, magnetic, or other digital form. It commonly includes programs to run

operating systems, applications, and utilities.

               g.      Internet Protocol (“IP”) Address is a unique numeric address used by digital

devices on the Internet. An IP address, for present purposes, looks like a series of four numbers,

each in the range 0-255, separated by periods (e.g., 149.101.1.32). Every computer attached to the

Internet must be assigned an IP address so that Internet traffic sent from and directed to that

computer may be directed properly from its source to its destination. Most Internet service

providers control a range of IP addresses. Some computers have static—that is, long-term—IP

addresses, while other computers have dynamic—that is, frequently changed—IP addresses.

               h.      The “Internet” is a global network of computers and other electronic devices

that communicate with each other using numerous specified protocols. Due to the structure of the
                                             14
        Case 1:21-cr-00123-PLF Document 72-3 Filed 09/22/22 Page 25 of 42




Internet, connections between devices on the Internet often cross state and international borders,

even when the devices communicating with each other are in the same state.

               i.      “Internet Service Providers,” or “ISPs,” are entities that provide individuals

and businesses access to the Internet. ISPs provide a range of functions for their customers,

including access to the Internet, web hosting, e-mail, remote storage, and co-location of computers

and other communications equipment. ISPs can offer a range of options in providing access to the

Internet, including via telephone-based dial-up and broadband access via digital subscriber line

(“DSL”), cable, dedicated circuits, fiber-optic, or satellite. ISPs typically charge a fee based upon

the type of connection and volume of data, called bandwidth, which the connection supports.

Many ISPs assign each subscriber an account name, a user name or screen name, an e-mail address,

an e-mail mailbox, and a personal password selected by the subscriber. By using a modem, the

subscriber can establish communication with an ISP and access the Internet by using his or her

account name and password.

               j.      A “modem” translates signals for physical transmission to and from the ISP,

which then sends and receives the information to and from other computers connected to the

Internet.

               k.      A “router” often serves as a wireless Internet access point for a single or

multiple devices, and directs traffic between computers connected to a network (whether by wire

or wirelessly). A router connected to the Internet collects traffic bound for the Internet from its

client machines and sends out requests on their behalf. The router also distributes to the relevant

client inbound traffic arriving from the Internet. A router usually retains logs for any devices using

that router for Internet connectivity. Routers, in turn, are typically connected to a modem.
                                                  15
       Case 1:21-cr-00123-PLF Document 72-3 Filed 09/22/22 Page 26 of 42




               l.      “Domain Name” means the common, easy-to-remember names associated

with an IP address. For example, a domain name of “www.usdoj.gov” refers to the IP address of

149.101.1.32. Domain names are typically strings of alphanumeric characters, with each level

delimited by a period. Each level, read backwards – from right to left – further identifies parts of

an organization. Examples of first-level, or top-level domains are typically .com for commercial

organizations, .gov for the governmental organizations, .org for organizations, and .edu for

educational organizations. Second-level names will further identify the organization, for example

usdoj.gov further identifies the United States governmental agency to be the Department of Justice.

Additional levels may exist as needed until each machine is uniquely identifiable. For example,

www.usdoj.gov identifies the World Wide Web server located at the United States Department of

Justice, which is part of the United States government.

               m.      “Cache” means the text, image, and graphic files sent to and temporarily

stored by a user’s computer from a website accessed by the user in order to allow the user speedier

access to and interaction with that website in the future.

               n.      “Peer to Peer file sharing” (P2P) is a method of communication available to

Internet users through the use of special software, which may be downloaded from the Internet.

In general, P2P software allows a user to share files on a computer with other computer users

running compatible P2P software. A user may obtain files by opening the P2P software on the

user’s computer and searching for files that are currently being shared on the network. A P2P file

transfer is assisted by reference to the IP addresses of computers on the network: an IP address

identifies the location of each P2P computer and makes it possible for data to be transferred

between computers.     One aspect of P2P file sharing is that multiple files may be downloaded at
                                               16
       Case 1:21-cr-00123-PLF Document 72-3 Filed 09/22/22 Page 27 of 42




the same time. Another aspect of P2P file sharing is that, when downloading a file, portions of

that file may come from multiple other users on the network to facilitate faster downloading.

                     i.       When a user wishes to share a file, the user adds the file to shared

               library files (either by downloading a file from another user or by copying any file

               into the shared directory), and the file’s hash value is recorded by the P2P software.

               The hash value is independent of the file name; that is, any change in the name of

               the file will not change the hash value.

                      ii.     Third party software is available to identify the IP address of a P2P

               computer that is sending a file. Such software monitors and logs Internet and local

               network traffic.

               o.      “VPN” means a virtual private network. A VPN extends a private network

across public networks like the Internet. It enables a host computer to send and receive data across

shared or public networks as if they were an integral part of a private network with all the

functionality, security, and management policies of the private network.          This is done by

establishing a virtual point-to-point connection through the use of dedicated connections,

encryption, or a combination of the two. The VPN connection across the Internet is technically a

wide area network (WAN) link between the sites. From a user perspective, the extended network

resources are accessed in the same way as resources available from a private network-hence the

name “virtual private network.” The communication between two VPN endpoints is encrypted

and usually cannot be intercepted by law enforcement.

               p.      “Encryption” is the process of encoding messages or information in such a

way that eavesdroppers or hackers cannot read it but authorized parties can. In an encryption
                                            17
       Case 1:21-cr-00123-PLF Document 72-3 Filed 09/22/22 Page 28 of 42




scheme, the message or information, referred to as plaintext, is encrypted using an encryption

algorithm, turning it into an unreadable ciphertext. This is usually done with the use of an

encryption key, which specifies how the message is to be encoded. Any unintended party that can

see the ciphertext should not be able to determine anything about the original message. An

authorized party, however, is able to decode the ciphertext using a decryption algorithm that

usually requires a secret decryption key, to which adversaries do not have access.

               q.      “Malware,” short for malicious (or malevolent) software, is software used

or programmed by attackers to disrupt computer operations, gather sensitive information, or gain

access to private computer systems. It can appear in the form of code, scripts, active content, and

other software. Malware is a general term used to refer to a variety of forms of hostile or intrusive

software.

 COMPUTERS, ELECTRONIC/MAGNETIC STORAGE, AND FORENSIC ANALYSIS

       22.     As described above and in Attachment B, this application seeks permission to

search for evidence, fruits, contraband, instrumentalities, and information that might be found on

the PREMISES, in whatever form they are found. One form in which such items might be found

is data stored on one or more digital devices. Such devices are defined above and include any

electronic system or device capable of storing or processing data in digital form, including central

processing units; desktop computers, laptop computers, notebooks, and tablet computers; personal

digital assistants; wireless communication devices, such as telephone paging devices, beepers,

mobile telephones, and smart phones; digital cameras; peripheral input/output devices, such as

keyboards, printers, scanners, plotters, monitors, and drives intended for removable media; related

communications devices, such as modems, routers, cables, and connections; storage media, such
                                           18
        Case 1:21-cr-00123-PLF Document 72-3 Filed 09/22/22 Page 29 of 42




as hard disk drives, floppy disks, USB flash drives, memory cards, optical disks, and magnetic

tapes used to store digital data (excluding analog tapes such as VHS); and security devices. Thus,

the warrant applied for would authorize the seizure of digital devices or, potentially, the copying

of stored information, all under Rule 41(e)(2)(B).        Based on my knowledge, training, and

experience, as well as information related to me by agents and others involved in this investigation

and in the forensic examination of digital devices, I respectfully submit that, if digital devices are

found on the PREMISES, there is probable cause to believe that the items described in Attachment

B will be stored in the Device(s) for at least the following reasons:

               a.      Individuals who engage in criminal activity, including attacks on the U.S.

Capitol described above, use digital devices to access websites to facilitate illegal activity and to

communicate with co-conspirators online; to store on digital devices, documents and records

relating to their illegal activity, which can include logs of online chats with co-conspirators; email

correspondence; text or other “Short Message Service” (“SMS”) messages; and contact

information of co-conspirators, including telephone numbers, email addresses, identifiers for

instant messaging and social medial accounts.

               b.      Individuals who engage in the foregoing criminal activity, in the event that

they change digital devices, will often “back up” or transfer files from their old digital devices to

that of their new digital devices, so as not to lose data, including that described in the foregoing

paragraph, which would be valuable in facilitating their criminal activity.

               c.      Digital device files, or remnants of such files, can be recovered months or

even many years after they have been downloaded onto the medium or device, deleted, or viewed

via the Internet. Electronic files downloaded to a digital device can be stored for years at little or
                                                19
        Case 1:21-cr-00123-PLF Document 72-3 Filed 09/22/22 Page 30 of 42




no cost. Even when such files have been deleted, they can be recovered months or years later

using readily-available forensics tools. When a person “deletes” a file on a digital device such as

a home computer, a smart phone, or a memory card, the data contained in the file does not actually

disappear; rather, that data remains on the storage medium and within the device unless and until

it is overwritten by new data. Therefore, deleted files, or remnants of deleted files, may reside in

free space or slack space – that is, in space on the digital device that is not allocated to an active

file or that is unused after a file has been allocated to a set block of storage space – for long periods

of time before they are overwritten. In addition, a digital device’s operating system may also keep

a record of deleted data in a “swap” or “recovery” file. Similarly, files that have been viewed via

the Internet are automatically downloaded into a temporary Internet directory or “cache.” The

browser typically maintains a fixed amount of electronic storage medium space devoted to these

files, and the files are only overwritten as they are replaced with more recently viewed Internet

pages. Thus, the ability to retrieve “residue” of an electronic file from a digital device depends

less on when the file was downloaded or viewed than on a particular user’s operating system,

storage capacity, and computer, smart phone, or other digital device habits.

        23.     As further described in Attachment B, this application seeks permission to locate

not only electronic evidence or information that might serve as direct evidence of the crimes

described in this affidavit, but also for forensic electronic evidence or information that establishes

how the digital device(s) were used, the purpose of their use, who used them (or did not), and

when. Based on my knowledge, training, and experience, as well as information related to me by

agents and others involved in this investigation and in the forensic examination of digital devices,


                                                   20
        Case 1:21-cr-00123-PLF Document 72-3 Filed 09/22/22 Page 31 of 42




I respectfully submit there is probable cause to believe that this forensic electronic evidence and

information will be in any of the Device(s) at issue here because:

                a.      Although some of the records called for by this warrant might be found in

the form of user-generated documents or records (such as word processing, picture, movie, or

texting files), digital devices can contain other forms of electronic evidence as well. In particular,

records of how a digital device has been used, what it has been used for, who has used it, and who

has been responsible for creating or maintaining records, documents, programs, applications, and

materials contained on the digital device(s) are, as described further in the attachments, called for

by this warrant. Those records will not always be found in digital data that is neatly segregable

from the hard drive, flash drive, memory card, or other electronic storage media image as a whole.

Digital data stored in the Device(s), not currently associated with any file, can provide evidence

of a file that was once on the storage medium but has since been deleted or edited, or of a deleted

portion of a file (such as a paragraph that has been deleted from a word processing file). Virtual

memory paging systems can leave digital data on a hard drive that show what tasks and processes

on a digital device were recently used. Web browsers, e-mail programs, and chat programs often

store configuration data on a hard drive, flash drive, memory card, or memory chip that can reveal

information such as online nicknames and passwords. Operating systems can record additional

data, such as the attachment of peripherals, the attachment of USB flash storage devices, and the

times a computer, smart phone, or other digital device was in use. Computer, smart phone, and

other digital device file systems can record data about the dates files were created and the sequence

in which they were created. This data can be evidence of a crime, indicate the identity of the user

of the digital device, or point toward the existence of evidence in other locations. Recovery of this
                                                  21
       Case 1:21-cr-00123-PLF Document 72-3 Filed 09/22/22 Page 32 of 42




data requires specialized tools and a controlled laboratory environment, and also can require

substantial time.

               b.      Forensic evidence on a digital device can also indicate who has used or

controlled the device. This “user attribution” evidence is analogous to the search for “indicia of

occupancy” while executing a search warrant at a residence. For example, registry information,

configuration files, user profiles, e-mail, e-mail address books, chats, instant messaging logs,

photographs, the presence or absence of malware, and correspondence (and the data associated

with the foregoing, such as file creation and last-accessed dates) may be evidence of who used or

controlled the digital device at a relevant time, and potentially who did not.

               c.      A person with appropriate familiarity with how a digital device works can,

after examining this forensic evidence in its proper context, draw conclusions about how such

digital devices were used, the purpose of their use, who used them, and when.

               d.      The process of identifying the exact files, blocks, registry entries, logs, or

other forms of forensic evidence on a digital device that are necessary to draw an accurate

conclusion is a dynamic process. While it is possible to specify in advance the records to be

sought, digital device evidence is not always data that can be merely reviewed by a review team

and passed along to investigators. Whether data stored on digital devices is evidence may depend

on other information stored on the devices and the application of knowledge about how the devices

behave. Therefore, contextual information necessary to understand other evidence also falls within

the scope of the warrant.

               e.      Further, in finding evidence of how a digital device was used, the purpose

of its use, who used it, and when, sometimes it is necessary to establish that a particular thing is
                                               22
        Case 1:21-cr-00123-PLF Document 72-3 Filed 09/22/22 Page 33 of 42




not present on the device. For example, the presence or absence of counter-forensic programs,

anti-virus programs (and associated data), and malware may be relevant to establishing the user’s

intent and the identity of the user.

                METHODS TO BE USED TO SEARCH DIGITAL DEVICES

        24.     Based on my knowledge, training, and experience, as well as information related to

me by agents and others involved in this investigation and in the forensic examination of digital

devices, I know that:

                 a.     Searching digital devices can be an extremely technical process, often

requiring specific expertise, specialized equipment, and substantial amounts of time, in part

because there are so many types of digital devices and software programs in use today. Digital

devices – whether, for example, desktop computers, mobile devices, or portable storage devices –

may be customized with a vast array of software applications, each generating a particular form of

information or records and each often requiring unique forensic tools, techniques, and expertise.

As a result, it may be necessary to consult with specially trained personnel who have specific

expertise in the types of digital devices, operating systems, or software applications that are being

searched, and to obtain specialized hardware and software solutions to meet the needs of a

particular forensic analysis.

                b.      Digital data is particularly vulnerable to inadvertent or intentional

modification or destruction. Searching digital devices can require the use of precise, scientific

procedures that are designed to maintain the integrity of digital data and to recover “hidden,”

erased, compressed, encrypted, or password-protected data. Recovery of “residue” of electronic

files from digital devices also requires specialized tools and often substantial time. As a result, a
                                                  23
        Case 1:21-cr-00123-PLF Document 72-3 Filed 09/22/22 Page 34 of 42




controlled environment, such as a law enforcement laboratory or similar facility, is often essential

to conducting a complete and accurate analysis of data stored on digital devices.

              c.       Further, as discussed above, evidence of how a digital device has been used,

the purposes for which it has been used, and who has used it, may be reflected in the absence of

particular data on a digital device. For example, to rebut a claim that the owner of a digital device

was not responsible for a particular use because the device was being controlled remotely by

malicious software, it may be necessary to show that malicious software that allows someone else

to control the digital device remotely is not present on the digital device. Evidence of the absence

of particular data or software on a digital device is not segregable from the digital device itself.

Analysis of the digital device as a whole to demonstrate the absence of particular data or software

requires specialized tools and a controlled laboratory environment, and can require substantial

time.

              d.       Digital device users can attempt to conceal data within digital devices

through a number of methods, including the use of innocuous or misleading filenames and

extensions. For example, files with the extension “.jpg” often are image files; however, a user can

easily change the extension to “.txt” to conceal the image and make it appear as though the file

contains text. Digital device users can also attempt to conceal data by using encryption, which

means that a password or device, such as a “dongle” or “keycard,” is necessary to decrypt the data

into readable form.     Digital device users may encode communications or files, including

substituting innocuous terms for incriminating terms or deliberately misspelling words, thereby

thwarting “keyword” search techniques and necessitating continuous modification of keyword

terms. Moreover, certain file formats, like portable document format (“PDF”), do not lend
                                             24
       Case 1:21-cr-00123-PLF Document 72-3 Filed 09/22/22 Page 35 of 42




themselves to keyword searches. Some applications for computers, smart phones, and other digital

devices, do not store data as searchable text; rather, the data is saved in a proprietary non-text

format. Documents printed by a computer, even if the document was never saved to the hard drive,

are recoverable by forensic examiners but not discoverable by keyword searches because the

printed document is stored by the computer as a graphic image and not as text. In addition, digital

device users can conceal data within another seemingly unrelated and innocuous file in a process

called “steganography.” For example, by using steganography, a digital device user can conceal

text in an image file that cannot be viewed when the image file is opened. Digital devices may

also contain “booby traps” that destroy or alter data if certain procedures are not scrupulously

followed. A substantial amount of time is necessary to extract and sort through data that is

concealed, encrypted, or subject to booby traps, to determine whether it is evidence, contraband,

or instrumentalities of a crime.

              e.       Analyzing the contents of mobile devices, including tablets, can be very

labor intensive and also requires special technical skills, equipment, and software. The large, and

ever increasing, number and variety of available mobile device applications generate unique forms

of data, in different formats, and user information, all of which present formidable and sometimes

novel forensic challenges to investigators that cannot be anticipated before examination of the

device. Additionally, most smart phones and other mobile devices require passwords for access.

For example, even older iPhone 4 models, running IOS 7, deployed a type of sophisticated

encryption known as “AES-256 encryption” to secure and encrypt the operating system and

application data, which could only be bypassed with a numeric passcode. Newer cell phones

employ equally sophisticated encryption along with alpha-numeric passcodes, rendering most
                                            25
       Case 1:21-cr-00123-PLF Document 72-3 Filed 09/22/22 Page 36 of 42




smart phones inaccessible without highly sophisticated forensic tools and techniques, or assistance

from the phone manufacturer. Mobile devices used by individuals engaged in criminal activity are

often further protected and encrypted by one or more third party applications, of which there are

many. For example, one such mobile application, “Hide It Pro,” disguises itself as an audio

application, allows users to hide pictures and documents, and offers the same sophisticated AES-

256 encryption for all data stored within the database in the mobile device.

               f.     Based on all of the foregoing, I respectfully submit that searching any digital

device for the information, records, or evidence pursuant to this warrant may require a wide array

of electronic data analysis techniques and may take weeks or months to complete. Any pre-defined

search protocol would only inevitably result in over- or under-inclusive searches, and misdirected

time and effort, as forensic examiners encounter technological and user-created challenges,

content, and software applications that cannot be anticipated in advance of the forensic

examination of the devices. In light of these difficulties, your affiant requests permission to use

whatever data analysis techniques reasonably appear to be necessary to locate and retrieve digital

information, records, or evidence within the scope of this warrant.

       25.     The Volume of data stored on many digital devices will typically be so large that it

will be extremely impractical to search for data during the physical search of the premises.

                a.            Therefore, in searching for information, records, or evidence, further

described in Attachment B, law enforcement personnel executing this search warrant will employ

the following procedures:

                      1.      Upon securing the PREMISES, law enforcement personnel will,

consistent with Rule 41(e)(2)(B) of the Federal Rules of Criminal Procedure, seize any digital
                                              26
        Case 1:21-cr-00123-PLF Document 72-3 Filed 09/22/22 Page 37 of 42




devices (that is, the Device(s)), within the scope of this warrant as defined above, deemed capable

of containing the information, records, or evidence described in Attachment B and transport these

items to an appropriate law enforcement laboratory or similar facility for review. For all the

reasons described above, it would not be feasible to conduct a complete, safe, and appropriate

search of any such digital devices at the PREMISES. The digital devices, and/or any digital images

thereof created by law enforcement sometimes with the aid of a technical expert, in an appropriate

setting, in aid of the examination and review, will be examined and reviewed in order to extract

and seize the information, records, or evidence described in Attachment B.

                       2.      The analysis of the contents of the digital devices may entail any or

all of various forensic techniques as circumstances warrant. Such techniques may include, but

shall not be limited to, surveying various file “directories” and the individual files they contain

(analogous to looking at the outside of a file cabinet for the markings it contains and opening a

drawer believed to contain pertinent files); conducting a file-by-file review by “opening,”

reviewing, or reading the images or first few “pages” of such files in order to determine their

precise contents; “scanning” storage areas to discover and possibly recover recently deleted data;

scanning storage areas for deliberately hidden files; and performing electronic “keyword” searches

through all electronic storage areas to determine whether occurrences of language contained in

such storage areas exist that are related to the subject matter of the investigation.

                       3.      In searching the digital devices, the forensic examiners may

examine as much of the contents of the digital devices as deemed necessary to make a

determination as to whether the contents fall within the items to be seized as set forth in Attachment

B. In addition, the forensic examiners may search for and attempt to recover “deleted,” “hidden,”
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       Case 1:21-cr-00123-PLF Document 72-3 Filed 09/22/22 Page 38 of 42




or encrypted data to determine whether the contents fall within the items to be seized as described

in Attachment B. Any search techniques or protocols used in searching the contents of the seized

digital devices will be specifically chosen to identify the specific items to be seized under this

warrant.

                            BIOMETRIC ACCESS TO DEVICE(S)

       26.     This warrant permits law enforcement agents to obtain from the person of VITALI

GOSSJANKOWSKI (but not any other individuals present at the PREMISES at the time of

execution of the warrant) the compelled display of any physical biometric characteristics (such as

fingerprint/thumbprint or facial characteristics) necessary to unlock any Device(s) requiring such

biometric access subject to seizure pursuant to this warrant for which law enforcement has

reasonable suspicion that the aforementioned person(s)’ physical biometric characteristics will

unlock the Device(s). The grounds for this request are as follows:

       27.     I know from my training and experience, as well as from information found in

publicly available materials published by device manufacturers, that many electronic devices,

particularly newer mobile devices and laptops, offer their users the ability to unlock the device

through biometric features in lieu of a numeric or alphanumeric passcode or password. These

biometric features include fingerprint scanners, facial recognition features, and iris recognition

features. Some devices offer a combination of these biometric features, and the user of such

devices can select which features they would like to utilize.

       28.     If a device is equipped with a fingerprint scanner, a user may enable the ability to

unlock the device through his or her fingerprints. For example, Apple offers a feature called

“Touch ID,” which allows a user to register up to five fingerprints that can unlock a device. Once
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        Case 1:21-cr-00123-PLF Document 72-3 Filed 09/22/22 Page 39 of 42




a fingerprint is registered, a user can unlock the device by pressing the relevant finger to the

device’s Touch ID sensor, which is found in the round button (often referred to as the “home”

button) located at the bottom center of the front of the device. The fingerprint sensors found on

devices produced by other manufacturers have different names but operate similarly to Touch ID.

       29.     If a device is equipped with a facial-recognition feature, a user may enable the

ability to unlock the device through his or her face. For example, this feature is available on certain

Android devices and is called “Trusted Face.” During the Trusted Face registration process, the

user holds the device in front of his or her face. The device’s front-facing camera then analyzes

and records data based on the user’s facial characteristics. The device can then be unlocked if the

front-facing camera detects a face with characteristics that match those of the registered face.

Facial recognition features found on devices produced by other manufacturers (such as Apple’s

“Face ID”) have different names but operate similarly to Trusted Face.

       30.     If a device is equipped with an iris-recognition feature, a user may enable the ability

to unlock the device with his or her irises. For example, on certain Microsoft devices, this feature

is called “Windows Hello.” During the Windows Hello registration, a user registers his or her

irises by holding the device in front of his or her face. The device then directs an infrared light

toward the user’s face and activates an infrared-sensitive camera to record data based on patterns

within the user’s irises. The device can then be unlocked if the infrared-sensitive camera detects

the registered irises. Iris-recognition features found on devices produced by other manufacturers

have different names but operate similarly to Windows Hello.

       31.     In my training and experience, users of electronic devices often enable the

aforementioned biometric features because they are considered to be a more convenient way to
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       Case 1:21-cr-00123-PLF Document 72-3 Filed 09/22/22 Page 40 of 42




unlock a device than by entering a numeric or alphanumeric passcode or password. Moreover, in

some instances, biometric features are considered to be a more secure way to protect a device’s

contents. This is particularly true when the users of a device are engaged in criminal activities and

thus have a heightened concern about securing the contents of a device.

       32.     As discussed in this Affidavit, your Affiant has reason to believe that one or more

digital devices, the Device(s), will be found during the search. The passcode or password that

would unlock the Device(s) subject to search under this warrant currently is not known to law

enforcement. Thus, law enforcement personnel may not otherwise be able to access the data

contained within the Device(s), making the use of biometric features necessary to the execution of

the search authorized by this warrant.

       33.     I also know from my training and experience, as well as from information found in

publicly available materials including those published by device manufacturers, that biometric

features will not unlock a device in some circumstances even if such features are enabled. This

can occur when a device has been restarted, inactive, or has not been unlocked for a certain period

of time. For example, Apple devices cannot be unlocked using Touch ID when: (1) more than 48

hours has elapsed since the device was last unlocked; or, (2) when the device has not been unlocked

using a fingerprint for 8 hours and the passcode or password has not been entered in the last 6

days. Similarly, certain Android devices cannot be unlocked with Trusted Face if the device has

remained inactive for four hours. Biometric features from other brands carry similar restrictions.

Thus, in the event law enforcement personnel encounter a locked device equipped with biometric

features, the opportunity to unlock the device through a biometric feature may exist for only a

short time.
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        Case 1:21-cr-00123-PLF Document 72-3 Filed 09/22/22 Page 41 of 42




       34.     Due to the foregoing, if law enforcement personnel encounter any Device(s) that

are subject to seizure pursuant to this warrant and may be unlocked using one of the

aforementioned biometric features, this warrant permits law enforcement personnel to obtain from

the aforementioned person(s) the display of any physical biometric characteristics (such as

fingerprint/thumbprint or facial characteristics) necessary to unlock any Device(s), including to

(1) press or swipe the fingers (including thumbs) of the aforementioned person(s) to the fingerprint

scanner of the Device(s) found at the PREMISES; (2) hold the Device(s) found at the PREMISES

in front of the face of the aforementioned person(s) to activate the facial recognition feature; and/or

(3) hold the Device(s) found at the PREMISES in front of the face of the aforementioned person(s)

to activate the iris recognition feature, for the purpose of attempting to unlock the Device(s) in

order to search the contents as authorized by this warrant.

       35.     The proposed warrant does not authorize law enforcement to require that the

aforementioned person(s) state or otherwise provide the password, or identify specific biometric

characteristics (including the unique finger(s) or other physical features) that may be used to

unlock or access the Device(s). Nor does the proposed warrant authorize law enforcement to use

the fact that the warrant allows law enforcement to obtain the display of any biometric

characteristics to compel the aforementioned person(s) to state or otherwise provide that

information. However, the voluntary disclosure of such information by the aforementioned

person(s) would be permitted under the proposed warrant. To avoid confusion on that point, if

agents in executing the warrant ask any of the aforementioned person(s) for the password to any

Device(s), or to identify which biometric characteristic (including the unique finger(s) or other

physical features) unlocks any Device(s), the agents will not state or otherwise imply that the
                                              31
       Case 1:21-cr-00123-PLF Document 72-3 Filed 09/22/22 Page 42 of 42




warrant requires the person to provide such information, and will make clear that providing any

such information is voluntary and that the person is free to refuse the request.

                                          CONCLUSION

       36.     I submit that this affidavit supports probable cause for a warrant to search the

PREMISES described in Attachment A and to seize the items described in Attachment B.

                                                       Respectfully submitted,




                                                       Scott Brown
                                                       Detective, Badge #1426
                                                       Metropolitan Police Department


       Subscribed and sworn by telephone pursuant to Fed. R. Crim. P. 4.1 and 41(d)(3) on
January 18, 2021.

                                  Digitally signed by G. Michael
                                  Harvey
                                  Date: 2021.01.18 10:37:08 -05'00'
       _________________________________________
       G. MICHAEL HARVEY
       UNITED STATES MAGISTRATE JUDGE




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